EXHIBIT 1
AQ 93 (Rev. 11/13) Search and Seizure Warrant

 

 

UNITED STATES DISTRICT COURT
for the
Eastern District of California

In the Matter of the Search of

22-S0-AG) Db
380 LESLIE LANE ,;WEAVERVILLE, TRINITY caseNo, Ard D
COUNTY, CALIFORNIA 96093

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SEARCH AND SEIZURE WARRANT

To: Any authorized law enforcement officer

An application by a federal law enforcement officer or an attorney for the government requests the search
of the following person or property located in the Eastern __ District of California
(identify the person or describe the property to be searched and give its location):

SEL ATTACHMENT A, attached hereto and incorporated by reference.

I find that the affidavit(s), or any recorded testimony, establish probable cause to search and seize the person or property
described above, and that such search will reveal (identify the person or describe the property to be seized):

SEE ATTACHMENT B, attached hereto and incorporated by reference.

YOU ARE COMMANDED to execute this warrant on or before (not to exceed 14 days)
@ in the daytime 6:00 a.m. to 10:00 p.m. 1 at any time in the day or night because good cause has been established.

Unless delayed notice is authorized below, you must give a copy of the warrant and a receipt for the property taken to the
person from whom, or from whose premises, the property was taken, or leave the copy and receipt at the place where the
property was taken.

The officer executing this warrant, or an officer present during the execution of the warrant, must prepare an inventory
us required by law and promptly return this warrant and inventory to: any authorized U.S. Magistrate Judge in the Eastern
District of California.

2 Pursuant to 18 U.S.C. § 3103a(b), I find that immediate notification may have an adverse result listed in 18 U.S.C.
§ 2705 (except for delay of trial), and authorize the officer executing this warrant to delay notice to the person who, or whose
property, will be searched or seized (check the appropriate box)
O for 30 days (not to exceed 30) 1 until, the facts justifying, the later specific date of

Date and time issued: 03/16/2022, 6:05pm

 

City and state: Sacramento, California

 

ORAH BARNES
UNITED STATES MAGISTRATE JUDGE
I. PREMISES TO BE SEARCHED
The premises to be searched is located at 380 Leslie Lane, Weaverville, California (the

“SUBJECT PREMISES”). As depicted in the photographs below, the SUBJECT PREMISES is
a single-family home located on a parcel in Trinity County, California. According to Trinity
County property records, the parcel is described as a 4.28-acre parcel of land, zoned with Trinity
County as “CXX1” — Residential Family, located at the end of Leslie Lane in Weaverville, CA.
This parcel contains the SUBJECT PREMISES, with an attached three-car garage. The
SUBJECT PREMISES is light in color with dark-colored composite roofing and has an in-
ground pool yard off the northeast of its back porch. The SUBJECT PREMISES also has a small
10x12 detached outbuilding, a few feet from the northwest corner. In addition, the parcel has a

large shop, light in color, with a bluish-gray-colored metal roof, 20-30 yards south of the primary

residence.

 
 
AO 93 (Rev. 1/13) Search and Seizure Warrant (Page 2) (modified)

 

Return

 

Case No.: Date and time warrant executed: Copy of warrant and inventory left with:

 

 

 

Inventory made in the presence of :

 

 

Inventory of the property taken and name of any person(s) seized:

 

Certification

 

I swear that this inventory is a true and detailed account of the person or property taken by me on the warrant.

 

Subscribed, sworn to, and returned before me this date.

 

 

Signature of Judge Date

 

 
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ATTACHMENT B

I. ITEMS TO BE SEIZED

1, The items to be seized are evidence, contraband, fruits, or instrumentalities of
violations of 21 U.S.C. § 841(a)(1) (possession with intent to distribute controlled substances),
21 U.S.C. § 846 (conspiracy and attempt to distribute controlled substances), and 18 U.S.C. 1956
(money laundering) {the “Subject Offense[s]”), namely:

a. Any controlled substance, controlled substance analogue, or listed
chemical;

b. Items and paraphernalia for the manufacturing, distributing, packaging,
sale, or weighing of controlled substances, including scales and other weighing devices, plastic
baggies, food saver sealing devices, heat sealing devices, balloons, packaging materials,
containers, and money counters;

c. Items used in the packaging of currency for consolidation and
transportation, such as money-counting machines, money wrappers, carbon paper, rubber bands,
duct tape or wrapping tape, plastic wrap or shrink wrap, and plastic sealing machines;

d. United States currency over $1,000 or bearer instruments worth over
$1,000 (including cashier's checks, traveler's checks, certificates of deposit, stock certificates,
and bonds) (including the first $1,000), and data, records, documents, or information (including
electronic mail, messages over applications and social media, and photographs) pertaining to,
obtaining, possessing, using, applications for, or transferring money over $1,000, such as bank
account records, cryptocurrency records, and accounts;

e. Documents and records reflecting the identity of, contact information for,
communications with, or times, dates or locations of meetings with co-conspirators, sources of
supply of controlled substances, or drug customers, including calendars, address books,
telephone or other contact lists, pay/owe records, distribution or customer lists, correspondence,

receipts, records, and documents noting price, quantities, and/or times when drugs were bought,

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sold, or otherwise distributed, whether contained in hard copy correspondence, notes, emails,
text messages, photographs, videos (including items stored on digital devices), or otherwise;

f. Records, documents, programs, applications, and materials, or evidence of
the absence of same, sufficient to show call log information, including all telephone numbers
dialed from any of the digital devices and all telephone numbers accessed through any push-to-
talk functions, as well as all received or missed incoming calls;

B. Records, documents, programs, applications or materials, or evidence of
the absence of same, sufficient to show SMS text, email communications or other text or written
communications sent to or received from any of the digital devices and which relate to the
above-named violation[s];

h. Records, documents, programs, applications or materials, or evidence of
the absence of same, sufficient to show instant and social media messages (such as Facebook,
Facebook Messenger, Snapchat, FaceTime, Skype, and WhatsApp), SMS text, email
communications, or other text or written communications sent to or received from any digital
device and which relate to the above-named violation{[s];

i. Audio recordings, pictures, video recordings, or still captured images
related to the purchase, sale, transportation, or distribution of drugs;

j. Contents of any calendar or date book;

k. Global Positioning System (“GPS”) coordinates and other information or
records identifying travel routes, destinations, origination points, and other locations; and

L. Any digital device (any electronic system or device capable of storing or
processing data in digital form, including central processing units; desktop, laptop, notebook, and _
tablet computers; personal digital assistants; wireless communication devices, such as paging
devices, mobile telephones, and smart phones; digital cameras; gaming consoles; peripheral
input/output devices, such as keyboards, printers, scanners, monitors, and drives; related

communications devices, such as modems, routers, cables, and connections; storage media; and
security devices) which is itself or which contains evidence, contraband, fruits, or

instrumentalities of the Subject Offense/s, and forensic copies thereof.
